           Case 4:17-cv-00673 Document 26-4 Filed on 08/04/17 in TXSD Page 1 of 4
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           Case 4:17-cv-00673 Document 26-4 Filed on 08/04/17 in TXSD Page 3 of 4
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      HOUSTON POLICE DEPARTMENT


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     Narrative
     INTRODUCTION;
      I AM OFFICER D. L. WILLIAMS WITH THE HOUSTON POLICE DEPARTMENT'S NORTH POLICE DIVISION
     UNIT 38450. TODAY I WAS SENT TO CHECK BY WITH UNIT 68360 ON AN ASSIST THE OFFICER CALL AT
      857 WTIDWELL AT 1255 HOURS, ON A CALL THAT WAS ORIGINALLY JUST A DISTURBANCE. I ARRIVED
     SOME MINUTES LATER AND FOUND OFFICER TAYLOR WITH THE HELP OF ASSISTING OFFICER TAKING
      THE RESISTING SUSPECT INTO CUSTODY.
     COMPLAINANT:            FUEL EXPO
     COMPLAINANT: MR ALI NIZAR PH: 832-435-8293
      MR NIZAR STATED THAT HE HAD BEEN TRYING TO TALK THE UNHINGED WOMAN INTO LEAVING FOR
     ALMOST AN HOUR. HE STATED WHEN SHE TOOK A WATER WITHOUT PAYING FOR IT. EVEN THOUGH
     HE OFFERED HER A CUP OF WATER HE'D HAD ENOUGH. MR NIZAR SAYS HE CALLED THE POLICE AND
     JUST WANTED THE LADY TO LEAVE. HE SAYS HE DID NOT SeE THE ENCOUNTER UNTIL THE WOMAN
     RAN BACK IN HIS STORE SCREAMING.
     COMPLAINANT: OFFICER K TAYLOR
     SEE SUPPLEMENT 1
     WITNESSES: MR RAYMOND DAVIS PH 713-699-1064
      MR DAVIS SAID THAT HE HAD BEEN THERE THE WHOLE TIME. HE SAYS THE LADY IS CRAZY AND
     NEEDS HELP. HE STATED THE OFFICER TRIED TO TALK TO THE WOMAN BUT SHE WOULD NOT LISTEN
     AND THEY GOT INTO IT. MR DAVIS SAYS HE WISHES THE OFFICER HAD WAITED ON HELP. HE SAYS
     AFTER THE WOMAN WAS TAZED SHE FELL AND HIT HER HEAD BUT ALMOST IMMEDIATELY JUMPED UP
     AND RAN TO HIM BEFORE RUNNING IN THE STORE. MR DAVIS SAYS THAT IS HOW HE GOT BLOOD ON
     HIS SHIRT. MR DAVIS SAYS HE HAS seEN THE WOMAN AROUND AND SHE IS NOT USUALLY THAT
     BAD.
     REPORTEE:            MR NIZAR CALLED PO ....
     OFFICERS PARAGRAPH;
       THE LOCATION IS THE PARKING LOT AND STORE OF THE FUEL EXPO AT 857 TIDWELL RD.
     OFFICERS ACTIONS:
       OFFICER K TAYLOR IN UNIT 68360 WAS SENT TO A DISPATCHED CALL OF A DISTURBANCE AT 857
     TIDWELL. SHE SAYS THE SUSPECT;L MS WALKER,FLORENCE FOUGHT HER WHEN SIMPLY ASKED TO
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                        Case 4:17-cv-00673 Document 26-4 Filed on 08/04/17 in TXSD Page 4 of 4



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                  HOUSTON POLICE DEPARTMENT
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                 LEAVE.
                   SEe SUPPLEMENT 1, FOR DETAILS. MHMRA CONSUMER TRANSPORTED TO HARRIS COUNTY BEEN
                 TAUB APPARENTLY HEARING VOICES, AND CLAIMING TO BE GOD.
                 SUSPECTS:         1 SUSPECT, NO CHARGES   MHMRA SUSPECT
                 DISPOSITION; REPORT
                 EVIDENCE, FOUND, OR RECOVERED PROPERTY:         NONE.       BUT POSSIBLE VIDEO AT STORE.




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